           Case 0:18-mj-06342-PMH Document 2 Entered
                                     CO U RT         on FLSD Docket 07/24/2018 Page 1 of 1
                                              M IN UTES
                       U nited States M agistrate Judge Patrick M .H unt
                   courtroom 205                                       Date:7/24/2018                          Time:11:00a.m.
Defendant: BrandonM artin(J)     J#:18950-104                        Case#:18-6342-PM H
AUSA:                                                       Attorney:
Violation: Conspiracyto Com m itM oney Laundering
Proceeding:InitialAppearance-Rule40/5 Removal       CJA Appt:
Bond/PTD Held:f-'Yes ï' o        Recom mended Bqnd:
Bondsetat: r#ppp-                     z> ->                             co-signedby:
     Surrenderand/ordo notobtainpassports/traveldocs                            Language: English
     Reportto PTS as directefor
                         -   -             x'saweek/monthby                     Disposition'
                                                                                           .
     phone:            x'saweek/monthinperson                                                                               -
 r- Random urine testing by PretrialServices
                                                                                                           I
    Treatm entas deem ed necessary
 C Refrain from excessive use ofalcohol                                                    %
                                                                                                G
 V- Participate in m entalhealth assessm ent& treatm ent
 C Maintainorseekfull-timeemployment/education
 C Nocontactwithvictims/witnesses
 f'- No firearm s
 !'
  -' Notto encum berproperty
 r   M ay notvisittransportation establishm ents
     HomeConfinement/El
                      -ectronic-M-onjtoriniand/or
     curfew                  pm to            am ,paid by
          wances:M edicalneeds,courtappearances,attorney visits,
     religious,em ploym ent
          ravelextendedto:       Z              F
 r- Other:
NEXT COURT APPEARANCE oate;                      Tim e;              Judge:                            Place:
ReportRE Counsel:
p'rD/BondHearing:
      -                                     / .'> r
PreIim/Arraignor-Remo.aI: T              - / /'.bD                                               X-/.
                                                                                                  -M
StatusConference RE:

D.A.R./é .-/z/..>0                                                             Timeincourt: ,Db                     .f
  CHECKIFAPPLICABLE:          Forthe reasonsstated bycounselfortheDefendantandfindingthattheendsofjusticeserved by
  grantingthe ore tenusm otion forcontinuance to hire counseloutw eigh the bestinterests ofthe public & tbe Defendantin a
  Speedy Trial,the Eourtfindsthatthe period oftim e from today,through and including . .            . shal
                                                                                                         lbe deem ed
  excludable in accordance with the provisionsofthe SpeedyTrialAct,18 USC 3161 etseq..
